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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                              CASE No. 1:18-cr-99
v.
                                                              HON. ROBERT J. JONKER
MARK ANDREW McMICHAEL,

                Defendant.

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                                  JUDGMENT OF DISMISSAL

         This case having come before the Court on Defendant Mark Andrew McMichael’s Motion

to Dismiss Indictment under Rule 12 of the Federal Rules of Criminal Procedure, and in

accordance with the Opinion and Order entered this day;

         Judgment is entered dismissing Counts 1, 2, and the forfeiture allegation in the Indictment.



Dated:      October 5, 2018                    /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
